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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

ASHTON ORR et al, ) Case No.: 1:25-cv-10313-JEK
. )
Plaintiffs, )
)
vs. )
)
DONALD TRUMP et al., )
)
)
Defendants, )
JOSHUA HARRELL, )
)
)
Intervenor. )

This Court invited the parties (ECF 104) to submit briefing by June 3 regarding two
proposed class definitions ahead of a potential class certification. Intervenor Joshua Harrell supports
Plaintiffs’ proposed class definition and opposes the alternative class definition considered by this
Court.

Harrell is a United States citizen. Like all US citizens, Harrell has an interest in traveling
internationally, using a US passport that correctly identifies Harrell. Harrell’s sex and gender are
nonbinary. Harrell applied for and obtained a California driver’s license with their sex listed as X
for nonbinary in September 2020. This sex marker remained the same when Harrell replaced their

license in July 2024. Under the status quo, Defendants’ passport policy, which Plaintiffs seek to

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Intervenor’s Brief

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overtum, only allows the issuance of US passports with male or female markers, apparently denying
nonbinary American citizens like Harrell passports, and with them, the right to travel internationally
under the imprimatur of the Secretary of State. This Court has already determined that this system is
unconstitutional in violation of the Fifth Amendment (ECF 74-75). However, this Court only
granted relief to the named Plaintiffs. Now before this Court is the question of whether a class
should be certified for relief, and if so, how the class should be defined (ECF 77, 79, 104).

Definitions: Plaintiffs’ proposed class definition (ECF 77), which appears the same as that

in their Complaint except that it has now been modified to exclude the Schlacter plaintiffs:

1. A class of all people who currently want, or in the future will want, a U.S. passport
issued with an “F” or “M” sex designation that is different from the sex assigned to that
individual under the Passport Policy (“M/F Designation Class”); and

2. A class of all people who currently want, or in the future will want, a U.S. passport and
wish to use an “X” sex designation (“X Designation Class”).

This Court’s proposed class definition (ECF 104):

1. Avclass of all people (1) who are transgender and/or have been diagnosed with gender
dysphoria, and (2) who have applied, or who, but for the Passport Policy, would apply,
for a U.S. passport issued with an “M” or “F” sex designation that is different from the
sex assigned to that individual under the Passport Policy (“M/F Designation Class”); and

2. Acclass of all non-binary people who have applied, or who, but for the Passport Policy,
would apply, for a U.S. passport with an “X” designation (“X Designation Class”).

This Court’s definition changes two things:
a. limits the class to (1) people “who are transgender and/or have been diagnosed with gender
dysphoria” and (2) non-binary people, and
b. predicates the class on passport application rather than mere wishes.
With respect to (b), Plaintiffs acknowledge (ECF 95, p. 5) that “Someone can demonstrate that they
want a passport by applying”. Thus, the distinction of (b) seems trivial to Harrell, and for simplicity,
Harrell expresses no opinion on which definition is better with respect to (b). Harrell instead

focuses the remainder of this brief on (a).

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Intervenor’s Brief

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Plaintiffs’ definition is the most natural definition of a Rule 23(b)(2) class. Plaintiffs
have made clear from the beginning that they seek a Rule 23(b)(2) class — where “the party
opposing the class has acted or refused to act on grounds that apply generally to the class, so that
final injunctive relief or corresponding declaratory relief is appropriate respecting the class as a
whole”. It is undisputed that the prior status quo, prior to Defendants’ passport policy, was to allow
the choice of M, F, or X on passports based on self-identification. Plaintiffs have clearly sought this
prior status quo. Plaintiffs’ class definition perfectly fits the actions and omissions of the opposing
party, making it a perfect definition under Rule 23(b)(2). Limiting the class to transgender people,
those diagnosed with gender dysphoria, or nonbinary people would mismatch the actions or
omissions for which relief is sought. If this Court proposes its definition based on any concept that
those who are not transgender, nonbinary, or diagnosed with dysphoria are barred from relief on the
merits, then this Court is engaging in an unlawful merits analysis at the class certification stage
(Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455, 466, 133 S. Ct. 1184, 1195, 185
L. Ed. 2d 308 (2013)).

The Court’s proposed class definitions are not clearly defined. It is unclear exactly what
is meant by the Court’s use of the term “non-binary” in its proposed definition. The Court must
always clearly define a Rule 23 class (Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 592 (3d Cir.
2012)). The Court’s clarity breaks down at the term “non-binary”. Unless the Court proposed the
term “non-binary” as pure decoration, the definition envisages situations where a person applies for
a passport with an X marker, yet would be ineligible for relief because they are not non-binary —
despite being eligible for the X marker under State Department policy before Defendants initiated
their challenged actions.

Even Harrell’s class membership would be at risk. Even though Harrell has had legal
documents denoting and reaffirming their correct gender longer than four of the seven original
Plaintiffs', the documents were in California, where like many states, the sex field on the driver’s

license is entirely based on self-certification (CA Vehicle Code §12800(a)). If this Court does not

' To clarify, of course it is not a competition. This point highlights the absurdity of excluding Harrell from relief, rather
than undermining Plaintiffs’ identities.
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Intervenor’s Brief

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consider self-certification adequate for class eligibility, one might wonder whether a stable legal

identity lasting several years is adequate for class eligibility, where that legal identity is also based
on self-certification. One might wonder what kind of intrusive evidence Harrell would be required
to show simply to confirm that they are non-binary for class eligibility, even when the previous

State Department policy that Defendants disrupted declined to require any such evidence.

The class, as certified, fails to eliminate the unlawful threat of criminal prosecution.

Plaintiffs correctly fear (ECF 30, p. 20-21) that the challenged policy implicates the right to travel

by giving nonbinary and transgender no choice but to travel with documents that incorrectly classify
| their gender, or not travel at all. But Harrell diverges from Plaintiffs by also noting that for non-
binary applicants, the stakes are even worse: we can only travel internationally after indicating on a
federal government form that we are either male or female. That is a lie. Any time a person lies on
a federal government form, criminal charges, such as 18 USC §1001, become a relevant discussion.
Still, there should be two sound defenses that bar a conviction: the Fifth Amendment equal
protection guarantees, and immateriality. But Defendants have indicated that they do not care about
either of these defenses: in this case, Defendants have already argued that (ECF 53, p. 17-20) their
policy does not violate the Fifth Amendment. Presumably, this would imply that they believe the
Fifth Amendment cannot be an excuse for lying on a government form, even if the government
form cannot be completed without selecting male or female. Furthermore, Defendants, through the
State Department, have already begun invoking the materiality provisions of similar statutes to deny
benefits: In a State Department memo entitled 25 STATE 15576 and published by Truthout?, the
State Department instructed consular officers to deny visas pursuant to INA Section 212(a)(6)(C)(i)
when: “For an applicant traveling to the United States for an athletic competition, for example,
misrepresentation of sex may be material if it cut off a line of inquiry regarding whether the athlete
is permitted to participate in the competition.” This guidance is apparently pursuant to Executive
Order 14201. Yet no US law allows the State Department to consider sex as prima facie evidence of

ineligibility for an athletic competition. An invitation letter from an organizer is prima facie

2 hups:/Aruthout.org/articles/did-marco-rubio-just-ban-trans-people-seeking-visas-from-us-entry/ . Accessed May 29,
2025.

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Intervenor’s Brief

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evidence of an athlete’s eligibility to compete in a competition, regardless of the athlete’s sex. Thus,
Defendants have already invoked materiality for sex information without lawful basis. Regardless
of the strength of the defenses in Article III courts, there is a credible threat that Defendants will do
the same to bring criminal charges against nonbinary people for lying on passport applications.
Conditioning international travel on willingness to endure federal criminal charges even further
impedes the right to travel.

The definition proposed by this Court merely kicks that can down the road. Instead of
prosecuting nonbinary people for claiming to be male or female, Defendants will be able to
prosecute nonbinary people for claiming that they are nonbinary on their application, by hijacking
the Court’s lack of clarity in failing to define “non-binary”, and may claim that the applicant is not
non-binary. This is especially concerning because Defendants claim that no one is non-binary:

Defendants expressly deny that non-binary people even exist, which would void the
entire class. This Court should not certify a class defined based on contested terms; the worst
possible case to do so would be when there is not a single person who can be agreed by all the
parties to be a member of the class. Defendants have, at various stages, altogether denied the
existence of non-binary people:

1. Defendants Trump and USA, through Executive Order 14168, declared, “It is the policy of
the United States to recognize two sexes, male and female.” While the Order does not
explicitly mention non-binary people, its terms in its entirety are exclusionary to non-binary
people, because non-binary is a sex other than male or female. This Order was implemented
by Defendants Rubio and DoS, resulting in the challenged policy. Defendants have defended
the challenged policy before this Court by citing the Order. This Order has also been
implemented by a multitude of other executive departments, to mean exactly what it says.
For example, the Bureau of Alcohol, Tobacco, Firearms and Explosives on May 5
eliminated the term “non-binary” from one of its forms (90 FR 18998), citing the Order.

2. Defendants Trump and USA, through Executive Order 14190, banned supporting,

subsidizing, or facilitating the “social transition” of a minor student. The Order defines

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Intervenor’s Brief

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“social transition” to include ‘calling a child “nonbinary”’, a plain implication that

nonbinary children do not exist.

Defendants Trump and USA, through the Executive-controlled Department of Health and

Human Services, published on May 1, 2025 a report entitled “Treatment for Pediatric

Gender Dysphoria Review of Evidence and Best Practices”. This 409 page report in many

ways denies the existence of non-binary people (bold added):

a.

May 30, 2025

“The same document also incorrectly states that sex is not “binary,” that it exists
“along a spectrum,” and that a person’s sex can change” (p. 32, fn. 15)

“even highly unusual surgeries such as non-binary mastectomies (where female
breasts are reshaped to resemble gynecomastia in males)” (p. 120, fn. 78)

“A parallel linguistic evolution in society at large has resulted in the increasing

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adoption of labels such as “nonbinary,” “genderqueer,” “queer,” “gender-fluid,”
“two-spirit,” and “transgender.” The individuals who identify with these labels—
unlike historical or contemporary “transsexuals”—are not a patient group of any
kind.” (p. 243)

“The growing use of identity labels such as “transgender” and “nonbinary” among
adolescents is an important topic for social science research. In the current U.S.
healthcare environment, self-labeling of this kind increases the likelihood that a

young person will seek input from a gender clinic[...]” (p. 243)

Conclusion: Plaintiffs’ class definition, specifically inasmuch as it declines to limit the class to
transgender and non-binary people and those diagnosed with gender dysphoria, is the only one that
will ensure that all people harmed by the specifically challenged policies, including Harrell, will be

able to seek relief.

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Joshua Harrell

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Certificate of Service

I certify that I, Joshua Harrell, served the Motion to Intervene and Intervenor’s Brief:

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Isaac D. Chaput

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10 || By USPS mail on May 30, 2025 to:

ELIZABETH B. LAYENDECKER
11 |] Or other attorney assigned to Case 1:25-cv-10313-JEK (District of Massachusetts)

United States Department of Justice
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